OFD (12/1/11) jbk                UNITED STATES BANKRUPTCY COURT                       U.S. BANKRUPTCY COURT
                                          District of Oregon                           DISTRICT OF OREGON
                                                                                             FILED
In re                                              )   Case No. 18−34280−tmb13
 Tiffany Willette Crumble                          )                                     December 11, 2018
Debtor(s)                                          )   ORDER AND NOTICE       Clerk, U.S. Bankruptcy Court
                                                   )   REGARDING FILING OF
                                                   )   DOCUMENT(S); AND NOTICE        BY jbk DEPUTY
                                                   )   OF PROPOSED DISMISSAL
                                                   )

The bankruptcy CASE FILED on 12/10/18 has deficiencies.
14 DAYS TO FILE: The following required document(s) were not filed. You must file each listed document
within 14 days of the CASE FILED date shown above.

    Attorney's Disclosure of Compensation. NOTE: The debtor's case will not be dismissed for the
    attorney's failure to timely file this document. (Fed. Rule Bankr. Proc. 2016(b))

    A signed Statement of Financial Affairs (Official Form 107 for Individuals; Official Form 207 for
    Non−Individual). (Fed. Rules Bankr. Proc. 1007 & 1008)

    A Statement of Your Current Monthly Income must be filed on the current Official Form applicable
    in this case: 122A−1 for Chap. 7, 122B for Chap. 11 or 122C−1 for Chap. 13. [Please note: If filing
    122A−1 or 122C−1, an additional form may be required. Follow the instructions on the form.]

    A Ch. 13 Plan. You must use the current version of Local Form 1300.17. (Local Bankr. Rule 3015−1)

    − Official and Local Forms may be obtained from this Court's website at www.orb.uscourts.gov
    (Local Bankr. Rule 9009−1). For a complete list of petition forms required for Individual Debtors,
    refer to Local Form 100; for Non−Individual Debtor, refer to Local Form 200.



IT IS HEREBY ORDERED that, unless otherwise provided above, this case may be DISMISSED without
further notice to the debtor(s) if the deficiencies outlined above are not completely and accurately corrected
AND the documents FILED within the time indicated. Each document or item filed must show each
DEBTOR'S NAME and the CASE NUMBER. Any document or item required to be filed using a form must be
COMPLETED using the CURRENT VERSION of the form.

Dismissal for failure to correct the deficiencies noted above may make the debtor(s) ineligible to file
another petition for 180 days after dismissal pursuant to 11 USC §109(g)(1) and/or may limit the
automatic stay if another petition is filed within 1 year pursuant to 11 USC §362(c)(4).

                                                                                   Clerk, U.S. Bankruptcy Court




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